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                               United States District Court
                                      EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

     CRAIG CUNNINGHAM                                  §
                                                       §
     v.                                                § Civil Action No. 4:18-CV-00161
                                                       § (Judge Mazzant/Judge Nowak)
     GREENSTAR CAPITAL SOLUTIONS,                      §
     LLC, ET AL.                                       §

                                  ORDER OF PARTIAL DISMISSAL

            Came on to be considered this day Plaintiff Craig Cunningham’s (“Plaintiff”) “Motion to

     Dismiss Schimeon Frederick, Tiffany Frederick, and Trusted Leads, LLC with Prejudice”

     (“Motion”) (Dkt. #16). Therein, Plaintiff avers that he has resolved his claims against Defendants

     Schimeon Frederick, Tiffany Frederick, and Trusted Leads, LLC, and wishes to dismiss his claims

     against these Defendants with prejudice. Plaintiff maintains that he does not wish to dismiss his

.    claims against the remaining Defendants. After considering the Motion (Dkt. #16), it is hereby

            ORDERED, ADJUDGED AND DECREED that the entirety of Plaintiff’s claims against

     Defendants Schimeon Frederick, Tiffany Frederick, and Trusted Leads LLC are hereby dismissed

     with prejudice.
           SIGNED this 1st day of June, 2018.




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                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
